Case: 2:19-mc-00047-MHW-KAJ Doc #: 1 Filed: 10/08/19 Page: 1 of 11 PAGEID #: 1

AO 451 (Rev. 12/12) Clerk’s Certification of a Judgment to be Registered in Another District

UNITED STATES DISTRICT COURT
for the
Central District of California

 

Stephanie Clifford a.k.a. Stormy Daniels

 

Plaintiff
™.

: Civil Action No. 18-cv-06893-SJO-FFM
Donald J. Trump

 

ee ee ee te

Defendant
CLERK’S CERTIFICATION OF A JUDGMENT TO BE REGISTERED IN ANOTHER DISTRICT

I certify that the attached judgment is a copy of a judgment entered by this court on (date) — 12/11/2018 .

I also certify that, as appears from this court's records, no motion listed in Fed. R. App. P. 4(a)(4)(A) is pending
before this court, the time for appeal has expired, and no appeal has been filed or, if one was filed, it is no longer
pending.

Date: q : $0 ~ Qo) a

CLERK OF COURT

Dorel Oars

 

 
Case: 2:19-mc-00047-MHW-KAJ Doc #: 1 Filed: 10/08/19 Page: 2 of 11 PAGEID #: 2

Case 2:18-cv-06893-SJO-Fy TF PeFePaTe® pis Paty eGR 29 1 of Pyudnage !D #:1338°

 

CENTRAL DISTRICT OF CALIFORNIA a —
Closed —
CIVIL MINUTES - GENERAL JS-5/JS-6
Scan Only
CASE NO.: CV 18-06893-SJO (FFMx) DATE: December 11, 2018
TITLE: Stephanie Clifford v. Donald J. Trump et al.

 

se me ee ee pe SE SA St SY yt St Ses mens ys ss es SOO ES
SS SS SS SS SS SS SS SS SS SS SS ES Se eee

PRESENT: THE HONORABLE S. JAMES OTERO, UNITED STATES DISTRICT JUDGE

Victor Paul Cruz Carol Zurborg

Courtroom Clerk Court Reporter

COUNSEL PRESENT FOR PLAINTIFF(S): COUNSEL PRESENT FOR DEFENDANT(S):
Present Present

2 ee ee
S555. SS SS SS EE EEEeEEEEEeEEEE—E—eE—E—E———_—_E

PROCEEDINGS (in chambers): ORDER GRANTING IN PART AND DENYING IN PART
DEFENDANT'S MOTION FOR ATTORNEYS' FEES [Docket No. 39]

This matter is before the Court on Defendant Donald J. Trump's ("Defendant") Motion For
Attorneys' Fees And Monetary Sanctions ("Motion"), filed on October 29, 2018. Plaintiff Stephanie
Clifford ("Plaintiff") filed an Opposition to Defendant's Motion on November 5, 2018 ("Opposition").
Defendant filed a Reply on November 12, 2018. The Court held argument on this matter on
December 3, 2018. For the following reasons, the Court GRANTS IN PART AND DENIES IN
PART Defendant's Motion.

F FACTUAL AND PROCEDURAL BACKGROUND

 

This Court's prior order contains a full summary of the factual and procedural history of this case.
(See Order Granting Defendant Donald J. Trump's Special Motion To Dismiss/Strike Plaintiff's
Complaint ("Special Motion") at 1-3, ECF No. 36.)

On October 15, 2018, this Court granted Defendant's Special Motion without leave to amend the
Complaint. (See generally Order Granting Special Motion.) The Court concluded that Mr.
Trump's tweet was non-actionable rhetorical hyperbole and therefore, was a protected opinion.
(Order Granting Special Motion at 10-12.) The Court also granted Defendant attorneys’ fees
under the Texas Citizens Participation Act ("TCPA"), the law that governed the Special Motion.
(Order Granting Special Motion at 14.)

On December 3, 2018, this Court held argument on the instant Motion. (See Tr. of Proceedings,
ECF No. 45.) The Court subsequently submitted this matter.

if
fi
Mit
III
Ml

Page 1 of 9
Case: 2:19-mc-00047-MHW-KAJ Doc #: 1 Filed: 10/08/19 Page: 3 of 11 PAGEID #: 3

Case 2:18-cv-06893-SJO-Fi\t eer er Ree oie pate GRP Age 2 of Bridnage ID #:1339°

CENTRAL DISTRICT OF CALIFORNIA sea —
Closed
CIVIL MINUTES - GENERAL JS-5/JS-6
Scan Only
CASE NO.: CV 18-06893-SJO (FFMx) DATE: December 11, 2018

 

II. ANALYSIS

A. Legal Standard

1. Attorneys' Fees

As the prevailing party on a TCPA anti-SLAPP motion, Defendant is entitled to attorneys' fees and
costs. The TCPA provides, in pertinent part, that when a court grants an anti-SLAPP motion, the
court "shall award to the moving party: (1) court costs, reasonable attorney's fees, and other
expenses incurred in defending against the legal action as justice and equity may require; and (2)
sanctions against the party who brought the legal action as the court determines sufficient to deter
the party who brought the legal action from bringing similar actions described in this chapter."
Tex. Civ. Prac. & Rem. Code § 27.009(a)(1). The language of the TCPA is mandatory, not
permissive, on the question of attorneys’ fees. "[T]he TCPA requires an award of 'reasonable
attorney's fees’ to the successful movant [on an anti-SLAPP motion]." Sullivan v. Abraham, 488
S.W.3d 294, 299 (Tex. 2016).

"A 'reasonable’ attorney's fee ‘is one that is not excessive or extreme but rather moderate or fair.’
That determination rests within the court's sound discretion, but that discretion, under the TCPA,
does not also specifically include considerations of justice and equity." Sullivan, 488 S.W.3d at
299 (Tex. 2016) (internal citations omitted) (quoting Garcia v. Gomez, 319 S.W.3d 638, 642 (Tex.
2010) and Tex. Civ. Prac. & Rem. Code § 27.009(a)(1)). To calculate a reasonable attorneys’
fees award, Texas courts generally apply the lodestar method, the same standard used by federal
courts. See El Apple |, Ltd. v. Olivas, 370 S.W.3d 757, 760 (Tex. 2012). “Under the
lodestar/multiplier method, the Court first calculates the ‘lodestar’ by multiplying the reasonable
hours expended by a reasonable hourly rate. The Court may then enhance the lodestar with a
‘multiplier,’ if necessary, to arrive at a reasonable fee." /n re Washington Pub. Power Supply Sys.
Sec. Litig., 19 F.3d 1291, 1295 (9th Cir. 1994) (citing Pennsylvania v. Delaware Valley Citizens’
Council for Clean Air, 478 U.S. 546, 565 (1986)). See also Blum v. Stenson, 465 U.S. 886,
898-901 (1984) (reversing upward multiplier based on factors subsumed in the lodestar
determination), The Court excludes from the lodestar amount hours that are not reasonably
expended because they are "excessive, redundant, or otherwise unnecessary." Van Gerwen v.
Guarantee Mut. Life Co., 214 F.3d 1041, 1045 (9th Cir. 2000).

2. Standard For Award Of Sanctions

Defendant also seeks sanctions against Plaintiff pursuant to the TCPA. (Tr. of Proceedings 5:3-
8.) In addition to granting attorneys' fees and costs to a prevailing party on an anti-SLAPP motion,
the TCPA provides for "sanctions against the party who brought the legal action as the court
determines sufficient to deter the party who brought the legal action from bringing similar actions
described in this chapter." Tex. Civ. Prac. & Rem. Code § 27.009(a)(2)). Although the TCPA
does not set out how sanctions are to be calculated, Texas courts have determined that "to

Page 2 of $%
Case: 2:19-mc-00047-MHW-KAJ Doc #: 1 Filed: 10/08/19 Page: 4 of 11 PAGEID #: 4

Case 2:18-cv-06893-SJO-Fi\ir pepe aiee oleate eGdrPage 3 Of Bradrage !P #:1340°

CENTRAL DISTRICT OF CALIFORNIA a —
Closed a
CIVIL MINUTES - GENERAL JS-5/JS-6
Scan Only
CASE NO.: CV 18-06893-SJO (FFMx) DATE: December 11, 2018

 

comply with the constitutional guarantee of due process, (1) there must be a direct relationship
between the offensive conduct and the sanction imposed, and (2) the sanction must be just and
not excessive." Landry's, Inc. v. Animal Legal Def. Fund, No. 14-17-00207-CV, 2018 WL
5075116, at *17 (Tex. App. Oct. 18, 2018). When adjudicating a request for sanctions under the
TCPA, Texas courts often look to Texas' Chapter 10 sanctions for guidance. Chapter 10
authorizes trial courts to impose sanctions against litigants for signing frivolous pleadings and
motions. See id. In assessing Defendant's request for sanctions, this Court also looks to the
interpretation of Rule 11 of the Federal Rules of Civil Procedure. See Low v. Henry, 221 S.W.3d
609, 615 (Tex. 2007) ("The language of section 10.001 of the Texas Civil Practice and Remedies
Code tracks much of the language in Federal Rule of Civil Procedure 11(b). . . .")

B. Application

The Court begins by reviewing Defendant's request for attorneys’ fees and cosis and then
addresses Defendant's request for sanctions against Plaintiff.

1. What Attorneys' Fees and Costs May Defendant Request?

 

The Court first determines whether Defendant can recover fees for the entirety of this litigation or
whether Defendant can recover fees only for the Special Motion and the resulting motion for fees.
Defendant seeks $389,403.11 in attorneys' fees and costs, accounting for 580.75 hours of
attorney time. (See Second Supp. Decl. of Charles Harder In Support of Motion ("Harder Second
Supp. Decl.") 94, ECF No. 43.) Defendant divides his request into four distinct categories of
fees: (1) initial strategy, (2) motion to transfer, (3) motion to strike, and (4) motion for fees. (See
Declaration of Charles Harder ("Harder Decl."), Ex. A at 18, ECF No. 39-2.) Plaintiff insists that
Defendant can only recover for the latter two categories because the former two categories did
not involve "defending" against Plaintiff's legal action for defamation. (Opp'n 11-15.)

The TCPA requires an award of fees "incurred in defending against the legal action." Tex. Civ.
Prac. & Rem. Code § 27.009(a)(1). Although the terms "defending" and "legal action" are not
defined anywhere in the statute, there is little dispute that the TCPA does not entitle a prevailing
party to recover fees for expenses incurred in litigating causes of action that are unconnected to
a defamation claim or a motion to strike. For example, in a situation where a plaintiff files a
complaint bringing a defamation claim based on one set of facts and a claim for breach of contract
based on an independent set of facts, a defendant who prevails on a motion to strike the
defamation claim can only recover attorneys' fees incurred in defending against the defamation
claim, not fees incurred in defending against the claim for breach of contract. See Kearney v.
Foley & Lardner, 553 F. Supp. 2d 1178, 1184 (S.D. Cal. 2008) ("All expenses incurred on

MINUTES FORM 11 aos!
CIVIL GEN Page 3 of 9 Initials of Preparer
Case: 2:19-mc-00047-MHW-KAJ Doc #: 1 Filed: 10/08/19 Page: 5 of 11 PAGEID #: 5

Case 2:18-cv-06893-SJO-FE\ eer erates pistPRitecbdrT ge 4 of Bridrigge ID #1341

CENTRAL DISTRICT OF CALIFORNIA ae —
Closed
CIVIL MINUTES - GENERAL JS-5/JS-6
Scan Only
CASE NO.: CV 18-06893-SJO (FFMx) DATE: December 11, 2018

 

common issues of fact and law qualify for an award of attorneys' fees under the anti-SLAPP
statute and those fees need not be apportioned.")."

Other situations may be more complicated than this example. In the instant case, Plaintiff only
brought a single defamation cause of action against Defendant. However, the parties briefed and
began to litigate a procedural motion, a motion to transfer venue, prior to this Court adjudicating
the substance of Defendant's Special Motion. The TCPA does not provide guidance as to
whether the terms "defending" and "legal action" encompass only litigation connected toa motion
to strike or all of the motions required in the process of litigating a defamation cause of action.

Existing case law favors Defendant's position. In American Heritage Capital v. Gonzalez, a Texas
Court of Appeals held that a defendant was entitled to costs and fees connected to an exchange
of emails with a plaintiff prior to the plaintiff formally joining the defendant on a defamation claim.
Am. Heritage Capital, LP v. Gonzalez, 436 S.W.3d 865, 880 (Tex. App. 2014), disapproved of on
other grounds by Hersh v. Tatum, 526 S.W.3d 462 (Tex. 2017) (internal citations omitted). The
American Heritage Capital court concluded that "[t]lo defend means to ‘deny, contest, or oppose
(an allegation or claim).' In order to properly defend, a lawyer must adequately prepare by
investigation, research, and drafting of pleadings. If a lawsuit is anticipated and, as in this case,
comes to fruition, it is both reasonable and necessary to prepare a defense in advance." Id.
((quoting Black's Law Dictionary 508 (10th ed. 2014)).

In the instant case, much like American Heritage Capital, there was only one cause of action at
issue in the litigation, Plaintiff's defamation claim against Defendant. As a result, Defendant's
preparatory work in this litigation was connected to the same subject matter adjudicated in the
Special Motion. Although Defendant filed a motion to transfer the case or in the alternative, to
dismiss or stay this case, this motion was connected to "defending" against the defamation claim.
The motion to transfer sought to place Defendant in a more advantageous position, to be able to
defend the defamation claim and the other lawsuits against him in a single forum. The motion to
transfer constituted part of Defendant's strategy to "oppose" the defamation action filed by
Plaintiff. /d. ((quoting Black's Law Dictionary 508 (10th ed. 2014)). The Court thus concludes that
Defendant is entitled to attorneys’ fees and costs connected to the entire course of this litigation,
including (1) initial strategy, (2) motion to transfer, (3) motion to strike, and (4) motion for fees.
Cf. Kearney, 553 F. Supp. 2d at 1184 ("Here, because defendants achieved the dismissal of all

 

1 Although Kearney involved the California anti-SLAPP statute, not the TCPA, the Kearney
court's reasoning is persuasive to this Court. "The California statute—section 425.16 of
the California Code of Civil Procedure—was one of the earliest ‘anti-SLAPP' laws and has
been a primary model or influence on similar laws subsequently enacted in other states,
including, directly or indirectly, the TCPA." Serafine v. Blunt, 466 S.W.3d 352, 386 (Tex.
App. 2015).

MINUTES FORM 11 tL
CIVIL GEN Page 4 of 9 Initials of Preparer
Case: 2:19-mc-00047-MHW-KAJ Doc #: 1 Filed: 10/08/19 Page: 6 of 11 PAGEID #: 6

Case 2:18-cv-06893-SJO-Fi\ eer eT ares pis Rit eGbRT 29° 5 Of Byidnage !D #:1342°

CENTRAL DISTRICT OF CALIFORNIA ad —
Closed _
CIVIL MINUTES - GENERAL JS-5/JS-6
Scan Only
CASE NO.: CV 18-06893-SJO (FFMx) DATE: December 11, 2018

 

of plaintiff's claims—both state and federal claims on some of the same or similar legal
grounds—awarding defendants all of their attorneys' fees associated with the right to petition,
would advance the public policy underlying the anti-SLAPP statute, which was enacted ‘to allow
early dismissal of meritless first amendment cases aimed at chilling expression through costly,
time-consuming litigation.”).

Another Texas Court of Appeals case, Cruz v. Van Sickle, further supports Defendant's position.
See 452 S.W.3d 503 (Tex. App. 2014). The issue in Van Sickle was whether a prevailing anti-
SLAPP defendant could recover attorneys' fees connected to both the filing of an anti-SLAPP
motion and the subsequent motion for attorneys' fees and costs. The court concluded that the
defendant could recover both sets of fees because courts "are required to construe [the TCPA]
liberally to effectuate its purpose and intent fully." /d. at 527. When this principle is applied to the
instant case, the TCPA mandates that Defendant ought to recover all four sets of attorneys’ fees
and costs connected to defending this litigation.

Although Plaintiff cites to California cases that purportedly prevent Defendant from recovering for
initial strategy and the motion to transfer, Plaintiff's chosen cases are unavailing. Plaintiff, for
example, cites to language in one decision stating that a prevailing defendant "may recover fees
and costs only for the motion to strike, not the entire litigation." Christian Research Inst. v. Alnor,
165 Cal. App. 4th 1315, 1320 (2008) (emphasis added). Although Christian Research Institute
did not define “entire litigation,” the Court understands that in some lawsuits, a defamation claim
will not be the “entire litigation" but only one cause of action amongst several. In such cases, a
defendant prevailing on an anti-SLAPP motion cannot recover attorneys’ fees and costs for the
"entire litigation,” but rather only the attorneys' fees and costs connected to defending the
defamation cause of action. In the instant case, by contrast, the defamation cause of action is
the only cause of action in the operative complaint, and by prevailing on the Special Motion,
Defendant has ended this case. "[W]here an anti-SLAPP motion disposes of an ‘entire lawsuit,’
as opposed to only some of the claims in a lawsuit, ‘all of the activity by [the] attorneys’ in
connection with the successful motion is deemed to have ‘occurred in the context of,’ and to have
been ‘inextricably intertwined with, the anti-SLAPP motion." Burton Way Hotels, Ltd. v. Four
Seasons Hotels Lid., No. CV 11-303 PSG (PLAX), 2012 WL 12883819, at *2 (C.D. Cal. June 12,
2012). Accordingly, there is little dispute that Defendant is entitled to attorneys’ fees and costs
connected to his defense against Plaintiff's defamation claim, which encompasses: (1) initial
strategy, (2) motion to transfer, (3) motion to strike, and (4) motion for fees.

2. Is Defendant's Request Reasonable?
Having concluded that Mr. Trump is entitled to all four sets of attorneys' fees and costs that he

seeks, the Court next addresses whether Defendant's request is reasonable under the lodestar
method. This involves answering two related questions. First, are Defendant's requested hourly

MINUTES FORM 11 ay?
CIVIL GEN Page 5 of 9 Initials of Preparer
Case: 2:19-mc-00047-MHW-KAJ Doc #: 1 Filed: 10/08/19 Page: 7 of 11 PAGEID #: 7

Case 2:18-cv-06893-SJO-FiR\t Pereyra ES ols'feite68RP age © of Brdpage ID #:1343_

CENTRAL DISTRICT OF CALIFORNIA ane oS
Closed
CIVIL MINUTES - GENERAL JS-5/JS-6
Scan Only a
CASE NO.: CV 18-06893-SJO (FFMx) DATE: December 11, 2018

 

rates per attorney reasonable? Second, are the hours expended per task by attorney
reasonable? The Court addresses these questions in turn.

a. Rates Charged

Defendant claims the following rates for the attorneys that worked on this matter: attorney Charles
Harder (partner) charges $841.64 per hour; attorney Ryan J. Stonerock (partner) charges $756.49
per hour; attorney Dilan A. Esper (senior attorney) charges $611.99 per hour; attorney Steven H.
Frackman (associate) charges $586.50 per hour; and attorney Ted S. Nguyen (associate) charges
$307.60 per hour. (Mot. at 14-16.)

Federal courts determine a reasonable hourly rate based on the "experience, skill, and reputation
of the attorney[s] requesting fees." Chalmers v. City of Los Angeles, 796 F.2d 1205, 1210 (9th
Cir. 1986). Federal courts look to "the rate prevailing in the community for similar work performed
by attorneys of comparable skill, experience, and reputation." /d. at 1210-11. Similarly, in
analyzing the reasonableness of the rates charged under the TCPA, Texas courts generally
consider several factors, including: (1) the time and labor required, the novelty and difficulty of
the questions involved, and the skill required to perform the legal service properly; (2) the
likelihood that the acceptance of the particular employment will preclude other employment by the
lawyer; (3) the fee customarily charged in the locality for similar legal services; (4) the amount
involved and the results obtained; (5) the time limitations imposed by the client or by the
circumstances; (6) the nature and length of the professional relationship with the client; (7) the
experience, reputation, and ability of the lawyer or lawyers performing the services; and (8)
whether the fee is fixed or contingent on results obtained or uncertainty of collection before the
legal services have been rendered. See Arthur Andersen & Co. v. Perry Equip. Corp., 945
S.W.2d 812, 818 (Tex. 1997). (See also Tr. of Proceedings at 6:19-7:2.)

In reviewing the rates charged by Defendant's attorneys, the Court agrees with Defendant that
his attorneys are incredibly qualified, and that the law firm of Harder LLP has specific expertise
in the fields of media and defamation law. (Mot. at 14-16.) The Court also is mindful of the fact
that the instant litigation is unique in its nature and scope. It involves a defamation claim against
the sitting President of the United States based on a tweet issued by the President from his
personal Twitter account. (See Tr. of Proceedings at 11:8-15.) The President has used this
Twitter account extensively, both during his campaign and afterwards. The litigation before this
Court therefore impacts what the President may or may not say in a public forum.

Based on the unique nature of this litigation and the Court's familiarity with the fees charged in this
jurisdiction, the Court concludes that Defendant's rate requests are reasonable. In similar First
Amendment anti-SLAPP litigation involving highly qualified attorneys, a court in the Northern
District of California held that experienced partners were entitled to between $880 and $995 per
hour, senior associates were entitled to between $450 and $535 per hour, and junior associates

MINUTES FORM 11 tL
CIVIL. GEN Page 6 of 9 Initials of Preparer
Case: 2:19-mc-00047-MHW-KAJ Doc #: 1 Filed: 10/08/19 Page: 8 of 11 PAGEID #: 8

Case 2:18-cv-06893-SJO-Fiq\ eer Spats pid Paice 12GERT a9 7 Of Bridngge ID #:1344

CENTRAL DISTRICT OF CALIFORNIA roe ——
Closed
CIVIL MINUTES - GENERAL JS-5/JS-6
Scan Only
CASE NO.: CV _18-06893-SJO (FFMx) DATE: December 11, 2018

 

were entitled to$355 per hour. See Open Source Sec., Inc. v. Perens, No. 17-CV-04002-LB, 2018
WL 2762637, at *7 (N.D. Cal. June 9, 2018). See also Salazar v. Midwest Servicing Grp., Inc.,
No. CV 17-0137 PSG (KSX), 2018 WL 4802139, at *7 (C.D. Cal. Oct. 2, 2018) ("In Los Angeles,
partners in litigation have an hourly rate ranging from $340 to $745."); Braden v. BH Fin. Servs.,
Inc., No. C 13-02287 CRB, 2014 WL 892897, at *6 (N.D. Cal. Mar. 4, 2014) (holding that partners
in an anti-SLAPP motion were entitled to $610 per hour, and associates were entitled to $310 per
hour); Sarver v. Hurt Locker, LLC, No. 210C VO9034JHNJCX, 2011 WL 131 35126, at*3 (C.D. Cal.
Dec. 8, 2011) (collecting cases).

b. Hours Spent

"A court may award attorneys’ fees only for the number of hours it concludes were reasonably
expended on the litigation.". Hensley v. Eckerhart, 461 U.S. 424, 434 (1983). The Court next
reviews the number of hours that Defendant claims that his attorneys spent on each task to
determine if the hours requested are reasonable. "[W]hen faced with a massive fee application
the district court has the authority to make across-the-board percentage cuts either in the number
of hours claimed or in the final lodestar figure 'as a practical means of trimming the fat from a fee
application." Gates v. Deukmejian, 987 F.2d 1392, 1399 (9th Cir. 1992) (quoting New York State
Ass'n for Retarded Children v. Carey, 711 F.2d 1136, 1146 (2d Cir.1983)).

Having reviewed the billing records submitted by Defendant, the Court reduces the total amount
in attorneys’ fees and costs that Defendant claims by 25%. See Wynn v. Chanos, No. 14-CV-
04329-WHO, 2015 WL 3832561, at *6 (N.D. Cal. June 19, 2015), aff'd, 685 F. App'x 578 (9th Cir.
2017) (reducing attorneys' fees and costs by 25%). The hours requested by Defendant are
excessive for two reasons that parallel the Wynn case.

First, Defendant could have researched and briefed this case with less involvement from partners
and greater use of highly qualified associates. See Wynn, 2015 WL 3832561 at *5. To litigate
Plaintiff's defamation claim, Defendant used two partners and one senior associate in addition to
two junior associates. Defendant could have streamlined litigation by distributing more work to
the junior associates. (See Initial Standing Order at A-13, ECF No. 29 ("The Court strongly
encourages parties to permit less experienced lawyers (/.e., lawyers with five or fewer years of
experience) to actively participate in the proceedings by presenting argument at motion hearings
or examining witnesses at trial.”))

Second, the descriptions of the work performed suggest that the hours spent on tasks by
Defendant's attorneys were excessive. For example, Defendant's attorneys spent significant time
conducting legal research for both the motion to transfer and the motion to strike. (See, e.g.,
Harder Decl., Ex. A at 6 (billing time for "legal research" connected to the Motion To Transfer);
Harder Decl., Ex. A at 10 (billing time for "legal research" connected to the Anti-SLAPP Motion)).
The Court agrees with Defendant that preparing a motion to transfer req uires a significant amount

MINUTES FORM 11 —-#
CIVIL GEN Page 7 of 9 Initials of Preparer
Case: 2:19-mc-00047-MHW-KAJ Doc #: 1 Filed: 10/08/19 Page: 9 of 11 PAGEID #: 9

Case 2:18-cv-06893-SJO-FE FRPP SPATE pis Paty eGdRTAIe 8 of Byidnage ID #:1345

CENTRAL DISTRICT OF CALIFORNIA Soa —
Closed ee
CIVIL MINUTES - GENERAL JS-5/JS-6
Scan Only _
CASE NO.: CV 18-06893-SJO (FFMx) DATE: December 11, 2018

 

of factual research. (See Tr. of Proceeding at 19:14-24.) That being said, with Harder LLP's vast
experience in the area of defamation law and federal court litigation, billing substantial hours for
legal research connected to a motion to strike or a motion to transfer is not reasonable. See
Wynn, 2015 WL 3832561 at *5. Moreover, in briefing the Special Motion, Defendant submitted
significant extraneous evidence, including a detailed list of Plaintiffs movie history and
filmography, which was unnecessary to this Court's decision-making. Ultimately, Defendant's
counsel did not need to spend as much time as they did conducting legal research and compiling
factual exhibits that would not properly be before this Court. (See, e.g., Harder Decl., Ex. A at 10
(billing time for "review and analysis of exhibits" and “draft Declaration of C. Harder in support of
Motion").)

As the Wynn court concluded,"given the sophistication of counsel and their substantial billing
rates, this case should have been litigated much more efficiently without sacrificing quality.”
Wynn, 2015 WL 3832561 at *6. The Court reduces the total amount of attorneys' fees and costs
claimed by Defendant by 25%. See id. Defendant is entitled to attorneys' fees and costs of
$292,052.33, a 25% reduction of the total fees and costs claimed of $389,403.11.

C. Sanctions Under TCPA

 

Defendant finally seeks sanctions against Plaintiff for bringing frivolous litigation against him.
Under the TCPA, sanctions shall be awarded sufficient "to deter the party who brought the legal
action from bringing similar actions described in this chapter." Tex. Civ. Prac. & Rem. Code Ann.
§ 27.009(a)(2). The TCPA is silent as to how to evaluate sanctions, and few courts provide
guidance as to this issue. See Kinney v. BCG Attorney Search, Inc., No. 03-12-00579-CV, 2014
WL 1432012, at *12 (Tex. App. Apr. 11, 2014) (noting that "no court has addressed a sanctions
award under the TCPA"); Am. Heritage Capital, 436 S.W.3d at 881 (awarding a sanction amount
of $15,000, which was equal to the amount of attorneys' fees). Defendant points to American
Heritage Capital for the proposition that this Court should double the attorneys’ fee award to deter
frivolous lawsuits by Plaintiff. (See Tr. of Proceedings at 32:3-8.)

While recognizing that some Texas courts have doubled attorneys’ fees to deter frivolous SLAPP
litigation, the Court declines to impose significant additional sanctions here. Plaintiff is liable to
Defendant for substantial attorneys' fees, which is already a means to deter her from bringing
SLAPP litigation in the future. See Truesdell v. S. California Permanente Med. Grp., 209 F.R.D.
169, 175 (C.D. Cal. 2002) (holding that a court must consider the deterrent effect of an award of
attorneys' fees in formulating sanctions under Rule 11); Metabolife Int'l, Inc. v. Wornick, 213 F.
Supp. 2d 1220, 1221 (S.D. Cal. 2002) ("Thus, to deter such chilling, ‘a prevailing defendant on
a special motion to strike shall be entitled to recover his or her attorney's fees and costs."
(emphasis added) (citing Cal. Civ. P. Code § 425.16(c)).

MINUTES FORM 11 tLe
CIVIL GEN Page 8 of 9 Initials of Preparer
Case: 2:19-mc-00047-MHW-KAJ Doc #: 1 Filed: 10/08/19 Page: 10 of 11 PAGEID #: 10

Case 2:18-cv-06893-SJO-Fig\t per epatcss pis eit EGGERT 29° 9 of Bridriaqge |D #:1346_

CENTRAL DISTRICT OF CALIFORNIA send —
Closed _
CIVIL MINUTES - GENERAL JS-5/JS-6
Scan Only ee
CASE NO.: CV 18-06893-SJO (FFMx) DATE: December 11, 2018

 

Moreover, Plaintiff is presently seeking to withdraw her other defamation claim that is before this
Court, (see Notice of Motion And Motion To Amend Complaint in Stephanie Clifford v. Donald
Trump et al., No. 2:18-cv-02217-SJO-FFM, ECF No. 91), and Plaintiff has not taken legal action
against Defendant despite rhetorically hyperbolic statements that Defendant has made about
Plaintiff in the recent past (see, e.g., Declaration of Michael Avenatti, Ex. 3, ECF No. 40-2.)
Plaintiff's unwillingness to resort to litigation in light of Defendant's continuing use of rhetorical
hyperbole suggests that Plaintiff is already being deterred from filing meritless defamation claims.

To the extent that the TCPA requires this Court to impose sanctions against Plaintiff, the Court
orders sanctions of $1,000. Plaintiff owes Defendant $293,052.33 in attorneys' fees, costs, and
sanctions.

IIL. RULING

The Court GRANTS IN PART AND DENIES IN PART Defendant's Motion, and orders Plaintiff to
pay Defendant $293,052.33 in attorneys’ fees, costs, and sanctions. This case shall close.

IT IS SO ORDERED.

MINUTES FORM 11 a
CIVIL GEN Page 9 of 9 Initials of Preparer
Case: 2:19-mc-00047-MHW-KAJ Doc #: 1 Filed: 10/08/19 Page: 11 of 11 PAGEID #: 11

J hereby attest and ceriify ond SO 20I%

thai the foregoing documentis a full, true
and correct copy of the original on He in
my office, and in my legal custody.

CLERK U.S. DISTRICT COURT

CENTR ard ALIFORNIA oa
Bors i

DEP ek GLERK

 
